            CaseApplication
   AO 106A (08/18) 8:24-mj-00207-DUTY                  Document
                            for a Warrant by Telephone or                1 Filed
                                                          Other Reliable Electronic    05/07/24
                                                                                    Means           Page 1 of 51 Page ID #:1


                                            UNITED STATES DISTRICT COURT
                                                                            for the
                                                                Central District
                                                             __________  Districtofof
                                                                                    California
                                                                                      __________

                      In the Matter of the Search of                          )
              (Briefly describe the property to be searched or identify the   )
                              person by name and address)                     )      Case No. 8:24-MJ-00207-DUTY
                                                                              )
       1 Wegeford Circle,                                                     )
       Ladera Ranch, California 92694                                         )
                                                                              )
                                                                              )

       APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
           I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
   penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
   property to be searched and give its location):

         See Attachment A-1
   located in the Central District of California, there is now concealed (identify the person or describe the property to be seized):
         See Attachment B
             The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                        evidence of a crime;
                        contraband, fruits of crime, or other items illegally possessed;
                        property designed for use, intended for use, or used in committing a crime;
                        a person to be arrested or a person who is unlawfully restrained.
             The search is related to a violation of:
                Code Section                                                            Offense Description
          18 U.S.C. § 2252A(a)(2)                                             Receipt and distribution of child pornography.
          18 U.S.C. § 2252A(a)(5)(B)                                          Possession of child pornography.
          18 U.S.C. § 2251(d)                                                 Advertisement of child pornography.
             The application is based on these facts:
                    See attached Affidavit
                        Continued on the attached sheet.
           Delayed notice of            days (give exact ending date if more than 30 days:                                    ) is requested
         under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.
                                                                                                   /s/ Nina Vicencia
                                                                                                     Applicant’s signature

                                                                                     Nina Vicencia, Special Agent (FBI)
                                                                                                     Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

Date: ___________________
                                                                                                     Judge’s signature

City and state:                Santa Ana, CA                                      Autumn D. Spaeth, United States Magistrate Judge
                                                                                                     Printed name and title

AUSA: Melissa Rabbani 714-338-3499
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                               AFFIDAVIT

I, Nina Vicencia, being duly sworn, declare and state as

follows:

            I.   BACKGROUND OF SPECIAL AGENT NINA VICENCIA

     1.     I am a Special Agent (“SA”) with the Federal Bureau of

Investigation (“FBI”) and have been so employed since July 2010.

I am currently assigned to the Los Angeles Office, Orange County

Resident Agency. I investigate, among other things, child

pornography and child sexual exploitation crimes in the Central

District of California. I received training in the investigation

of crimes against children during my attendance at the FBI

Academy in Quantico, Virginia, and continued my training through

participation in child exploitation trainings.         In addition, I

have participated in numerous investigations of criminal

activity.    During the investigation of these cases, I have

executed, and participated in the execution of, numerous search

warrants and have seized evidence of violations of the United

States Code.

     2.     In the performance of my duties, I have investigated

and assisted in the investigation of matters involving the

possession, collection, production, and transportation of images

of child pornography. Also, I have been involved in searches

pertaining to the possession, collection, production, and

transportation of child pornography through the execution of

search warrants.

     3.     Through my training and experience, I have become

familiar with methods used by people who commit offenses
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involving the sexual exploitation of children.         My training and

experience have given me an understanding of how people who

commit offenses related to the sexual exploitation of children

use the internet and digital devices to facilitate and commit

those offenses.

     4.    Moreover, I am a federal law enforcement officer who

is engaged in enforcing criminal laws, including 18 U.S.C.

§§ 2251, 2252 and 2252A, and I am authorized by law to apply for

and execute search warrants and arrest warrants issued by

federal and state courts.

                       II. PURPOSE OF AFFIDAVIT

     5.    This affidavit is made in support of search warrants

for the premises located at 1 Wegeford Circle, Ladera Ranch,

California, 92694 (“SUBJECT PREMISES”) and the person of Sherif

Ahmed Saad (the “SUBJECT PERSON”), as further described in

Attachments A-1 and A-2, for the items to be seized described in

Attachment B, which are the evidence, fruits, and

instrumentalities of violations of 18 U.S.C. §§ 2252A(a)(2)
(receipt and distribution of child pornography), 2252A(a)(5)(B)

(possession of child pornography) and 2251(d) (advertisement of

child pornography) (the “Subject Offenses”).

     6.    The facts set forth in this affidavit are based upon

my personal communications with Headquarters Case Agent James

Muller.   This affidavit is intended to show merely that there is

sufficient probable cause for the requested warrants and does

not purport to set forth all of my knowledge of or investigation

into this matter.    Unless specifically indicated otherwise, all



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conversations and statements described in this affidavit are

related in substance and in part only.

                   III. SUMMARY OF PROBABLE CAUSE

     7.   Overview. The FBI has identified a group of child

pornography producers that sold child sexual abuse material

(CSAM) in exchange for Bitcoin currency. The producers provided

prospective customers with several different “deposit addresses”

where they could deliver Bitcoin and other crypto currency

payments. When the customers purchased CSAM, crypto currency was

deposited at those addresses. The person(s) in control of the

deposit addresses would at times then move the crypto currency

to online platforms that would allow them to spend the crypto

currency as they wished. By analyzing these transactions,

investigators could determine who was moving and spending the

crypto currency that had been received as payment for CSAM,

ultimately revealing who was responsible for the CSAM sales.

Relevant here are three deposit addresses where approximately

$1,200 in Bitcoin was transferred in 18 separate transactions

between November 2022 and February 2023 to a recipient. The

recipient of those funds was Sheriff Saad (the SUBEJECT PERSON)

of 1 Wegeford Circle, Ladera Ranch, California, 92694 (the

SUBJECT PREMISES), who received approximately $1,200 in Bitcoin

CSAM proceeds via accounts that he controlled.

                        Background on Snapgod.

     8.   It was conveyed to me that since September 2022, the

FBI has been investigating online sites relating to a moniker or

persona known as “Snapgod”: https://snapgod.co/,



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https://snapgod.pics/, http://snapgod.tv, and

https://leakzss.is. The websites solicited payment for CSAM,

including CSAM in which victims were required to write words

referencing “Snapgod” on their bodies.       The FBI learned of the

existence of these online sites, and Telegram channels/usernames

based on information provided by a Foreign Law Enforcement

Agency (FLA)1.

     9.   SA Muller communicated to me that in the beginning in

November of 2022, an FBI Online-Undercover agent (OCE-1) began

monitoring several Telegram channels, and several of the above-

mentioned websites. The various websites and Telegram channels

were all clearly advertising material produced by “Snapgod” and

directed users to sites where they could view CSAM


     1 This foreign law enforcement agency referenced throughout
this affidavit is a regional law enforcement agency of a country
with an established rule of law. There is a long history of
U.S. law enforcement sharing criminal investigative information
with the foreign law enforcement agency and the foreign law
enforcement agency sharing criminal investigative information
with U.S. law enforcement, across disciplines and including the
investigation of crimes against children. The foreign law
enforcement agency advised U.S. law enforcement that it obtained
the information described herein through independent
investigation that was lawfully authorized in the foreign law
enforcement agency's country pursuant to its national laws. I
am aware through my training and experience and consultation
with other U.S. law enforcement agents that tips provided by the
foreign law enforcement agency have led to the seizure of
evidence of child pornography trafficking and possession in the
United States.
     To protect the integrity of the foreign law enforcement
agency’s ongoing investigation into the conduct described in
this affidavit and/or related conduct, the foreign law
enforcement agency is not named in this affidavit. However, the
name of the foreign law enforcement agency and nature of its
investigation will be produced to defense counsel in subsequent
legal proceedings relating to this investigation, to the extent
required by U.S. federal, constitutional, and/or other relevant
law.


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advertisements and to another site where users could pay for the

CSAM via direct payment and through crypto-currency. Some of the

usernames the FBI observed the Snapgod Subjects utilize on

Telegram included “cutekittiez” and “Guardin".

        10.   As stated to me by SA Muller, on one site

(“Advertisement Site”), there were three tabs a user could

select – “Bestsellers”, “Archives” and “Slaves” (which later

became “New Releases”). Under each Tab, numerous products could

be purchased, and each product included a description of its

content and a link that would direct the user to the site where

they could register an account and buy the product. Under the

“Archives” Tab, several products were listed with their

associated prices. One example is described below from November

2022:

              a.   Archives V1:

                   i.    $47.50

                   ii.   Product sold 117 times

                   iii. You get access to my MEGA link with

                         contained material

                   iv.   Over 130 young never seen before hacked teen

                         girls

                   v.    *WARNING: Archive V1 contains O[irignal]

                         C[ontent] snaphacks only, if you want




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                       O[riginal] C[ontent] B[lack]M[ail],2 look at

                       v2 instead*

           b.    Archives V3

                 i.    $149.00

                 ii.   You get access to my working MEGA folder,

                       which includes all of the things below

                 iii. Collection started from October 2022

                 iv.   Young never before seen teens

                 v.    Custom videos of bestseller girls (5% of

                       every bestseller girl is posted in v3 so you

                       can choose if the girl is worth buying in

                       the future!)

                 vi.   New sets added to the SAME link, every week

                       (updating for 3 months!)

                 vii. You need Archive V2 in order to be able to

                       buy this

     11.   It was also conveyed to me that the “Bestsellers” Tab

included thumbnail images of between six and nine different

females. In most of the images, the young females were nude or

topless, and in some cases with some form of “Snapgod” written

on their chests. Under each image was a product description,

price, and a link to the site where they could register an

account and buy the product. One example is described below from

November 2022:

     2 It was conveyed to me that online child exploitation
offenders use the abbreviation “OC” to refer to “original
content” and the abbreviation “BM” to refer to blackmail,
meaning CSAM in which the victim was blackmailed into performing
sex acts on camera.


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           a.   Liz

                i.      $249.99

                ii.     Product sold 24 time

                iii. 20.26gb of unbeatable incest content

                iv.     Selfies of lizzy (some with her friends

                        (nude) and her brother (nude))

                v.      Self made videos (masturbating, undressing,

                        orgasming, anal, crying, self-harm, blood,

                        forced penetration, incest)

                vi.     Incest content (Lizzy gets her younger

                        brother Jack and gives him a blowjob, Jack

                        licks her pussy and eats her ass, Lizzy

                        chokes Jack with her pussy and makes him cry

                vii. BM content

                viii.        3507 ORIGINAL QUALITY PHOTOS AND VIDEOS

     12.   It was communicated to me that the “Slaves” Tab was

initially empty in November of 2022, but was renamed the “New

Releases” Tab in March 2023, and included two products with

thumbnail images of two new females. Both included product

descriptions, prices, and a link to a different site to order

and purchase the product. Both new products included erotic

pictures or topless nude images of young women.

     13.   SA Muller conveyed to me that in November of 2022 OCE-

1 created an account on the site designated for purchasing

material on the “Purchasing Site” (snapgod.tv, and later

leakzss.is). The Purchasing Site included several Tabs that




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included links to the Advertisement Site, and links to pages

describing individual series of pornographic material.

     14.   It was communicated to me that once such link would

take the user to a new webpage specifically for “Lizzy”. The

Lizzy page included many of the same product descriptions as

described above from the Advertisement site, but also included

more sample images of the pornographic product. One such

thumbnail image includes a young female standing fully nude next

to a much younger male. The male is clearly pre-pubescent given

his small stature, lack of pubic development, and youthful

physical and facial features. The young male appears to have his

mouth on the breast of the female. Another image appears to show

the same female, fully nude, straddling the face of what appears

to be the same underage male.

     15.   It was also conveyed to me that another link for

“Izzy” is similar to “Lizzy” described above and includes nude

images of a youthful female. The product description includes,

“zoo content (Izzy gets her pitbull (bigger than her) and

performs sexual activities with him)”.

     16.   It was communicated to me that under the “How to Buy

Content” Tab, the site provides detailed step-by-step

instructions on how to execute a purchase of material. The site

included methods of payment, crypto-currency deposit addresses,

and instructs users how to provide proof of their transaction

with screenshots of their crypto transaction hashes.

     17.   It was conveyed to me that from November 2022 to

January 2024 OCE-1 routinely logged into the Purchasing Site and



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identified and captured over 140 different crypto-currency

deposit addresses, in four different forms of crypto-currency,

that users could use to purchase the pornographic material.

      18.   It was comminated to me that the FBI identified at

least nine different children in the SnapGod CSAM videos,

referred to here as Minor Victims 1-9. Local law enforcement

agencies identified Minor Victims 1-7 and 9, and confirmed they

were minors at the time of production. Those victims informed

local law enforcement that in each instance they were explicitly

forced by an unknown person — in some instances they were

initially contacted by Snapchat username “julia_zeegan” and in

others the person was known to them as "Max” — to perform sexual

acts upon request and against their will. MV 8 remains

unidentified.

      19.   It was conveyed to me that CSAM depicting Minor

Victims 1, 2, 5, and 6 were sold on the Advertisement site,

along with CSAM depicting an additional victim, Minor Victim 8.

      20.   Also conveyed to me was that OCE-1 purchased CSAM from

the Advertisement Site, which included CSAM depicting Minor

Victims 1, 2, 5, 6, 7, 8 and 9.

      21.   SA Muller told me that the material purchased by OCE-1

has been reviewed by FBI Agents. The CSAM videos show that the

Snapgod subject(s) coerced the victims into engaging in sexually

explicit conduct. In the videos, the victims plead with the

subjects to stop the abuse. In some instances, the Snapgod

subject(s) forced the victims to harm themselves or to engage in

sex acts with pets, siblings, and strangers.



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       22.    The example conveyed to me was that in a video

depicting Minor Victim 9 engaged in sexually explicit conduct,

which appeared to be a screen recording created by another user

through Snapchat, there are threats used to force Minor Victim 9

to create CSAM of herself. Additionally, a local law enforcement

agency that was investigating the production of Minor Victim 9’s

child pornography confirmed that the material was coerced from

the Minor Victim.

    Identifying Sherif Saad as a Recipient of Snapgod Deposits.

       23.    SA Muller told me that the FBI began analyzing

transaction data to and from the crypto currency deposit

addresses provided by the Snapgod Subject(s) on their purchasing

site beginning in November of 2022.

       24.    SA Muller further stated that the FBI identified the

below Bitcoin deposit address on the SnapGod Purchasing site in

February of 2023:

              bc1q5yx44f2lhhdh2mw6k6jytxghjt2rxq5unqu74c

       25.    Utilizing a crypto currency analytical tool, SA Muller
told me that the FBI was able to investigate other bitcoin

transactions going to and from the above deposit address. Six

such transactions are detailed below:

 Transaction Hash                                                   Date              USD
 8042e391edfb66f5cca2634b982213f505f2fb1770ffa7e1729e5bc714baa096    2/1/2023 17:12    $ 37.97
 7349202951e8ae882823d25ea0e63974a0a5f9dff8f4702a53d6c23de7e2200b     2/8/2023 7:22   $ 300.46
 9aff754c92b8815f4100954cf0b375e45e3b4fc8e9088b7925653d91c821e104     2/9/2023 7:19    $ 73.40
 dbb2e34e12f09e5858a9a8bab7a4ed3a86c896b8be4ca7fbec1e34e0525d1dd9     2/9/2023 7:50   $ 355.96
 c47e6c86005ec1f69d1d64eaa992aef74d19ed2c1d01921cb4d9e888d3859d78     2/9/2023 8:06   $ 354.76
 b87ca906c3089012148ede0c6fdc72fa141b8f6caee7cb52cd4712f33de600a5    2/9/2023 19:33    $ 73.16




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       26.    In summary, what was conveyed to me was that five of

the above six transactions representing a total of $839.76 went

from the above bitcoin deposit address explicitly advertised as

a means to pay for CSAM from the SnapGod Subjects, to an account

at Roobet.com. One transaction for $355.96 went from the same

account at Roobet.com to the SnapGod deposit address.

       27.    The FBI served a Subpoena to Roobet.com (an online

crypto-currency-based gambling site based out of Curacao) on May

23, 2023. Roobet confirmed that the below listed user was

associated with the above listed transactions:

              Username: Deez982
              Name Entered by User: Sherif Saad
              Date of Birth Entered by User: 04/29/1970


       28.    It was communicated to me that an additional

transaction was traced from the deposit address on the SnapGod

Purchasing site in February of 2023 listed in paragraph 24

(bc1q5yx44f2lhhdh2mw6k6jytxg…):

 Transaction Hash                                                   Date              USD
 b8e4aaa31c8d264ea4911b061af623a2783e4f96cea958691e43a39f80737701   2/1/2023 12:40   $ 18.15



       29.    In summary, it was conveyed that approximately $18 was

sent from the above bitcoin deposit address explicitly

advertised as a means to pay for CSAM from the SnapGod Subjects

to an account at paywithmoon.com. Pay With Moon was a crypto

currency service provider that allowed its users to convert

crypto currency into virtual Visa cards and make payments to

online merchants.




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       30.    SA Muller conveyed to me that the FBI issued a

Subpoena to Pay With Moon on August 11, 2023. Ken Kruger, the

CEO of Pay With Moon, provided the account holder Information:

       Account Holder: Sherif Ahmed Saad
       Email: ggxdhaha01@gmail.com

       31.    SA Muller further communicated that in addition to

identifying the Account Holder, Kruger provided the transaction

history associated with Sherif Saad’s Pay With Moon account.

Saad’s transaction history revealed 14 more transactions listed

below that were all conducted with previously identified SnapGod

Deposit addresses:



 Transaction Hash                                                   Date                   USD
 422b1b7ba93f4846f28026ef6903cfb08c2b382454e9b3dd64d4047a4eba7101   2022-11-20T17:14:31Z    $ 88.00
 cf1f4154b504a815f7f869c7f639165c95ae7132a4eefca0097c855a48ac5280   2022-11-20T17:14:31Z    $ 20.00
 f4c9b2b097a58a94c227e8424455ce9ea545ee6d0a772e15e536651eb4c5be26   2022-11-28T15:40:39Z    $ 20.00
 9e6cdd20beefa4c549f77d4be4d8b4037cd8d8d655e241485be57cfe755afde3   2022-11-28T15:40:39Z    $ 21.00
 4a5e8877c357c1e318b93e1226d0c79dcbee59fd6a5d4ee4bf48b9c8b0ea7749   2022-12-09T13:58:16Z     $ 6.49
 e3feb5fb820f5b793ba0817787984e2472cf454ee8475c01e2310680ca4296e5   2022-12-10T10:43:29Z    $ 20.00
 1363c727ffeae26e1625dfe9dfc30bf14d303fb990104e15449351c4dfccaa9d   2022-12-13T07:27:58Z    $ 10.00
 60b2f9f26fa527e4a809dac7d314ed5e6364001c78b7bd44a82403f64b3f4341   2022-12-15T12:12:14Z    $ 20.00
 d593ad3efbc9ae2a3efcfa136bc02767f18770a1fab0edecc4c7639c43864676   2022-12-15T17:55:27Z    $ 20.00
 9594437f2d3f436b334513581a3abed4f7320f18a81a81b92231ce396c485730   2022-12-16T05:42:43Z    $ 20.00
 5b3ac452da5916e7c313269a4670ace929a4b41df93a80df482a63690ff203d3   2022-12-16T12:47:31Z    $ 40.00
 85400532bed2fcad69e8b88e9d8d9c1d1800bc0faf9ad3baed2c37b2a58415d4   2022-12-16T15:49:39Z   $ 100.00
 746027446b2539caf85b81aafb8464c5ec45de99fc5f774dedf75b8579ede428   2022-12-30T12:06:04Z    $ 20.00
 4a4d88f8568536c5d50db967456bc309204ec3372d25830781f3f3d7c7161723   2022-12-30T15:31:02Z    $ 20.00



       32.    In summary, it was conveyed that $445.49 was sent from

three different bitcoin deposit addresses explicitly advertised

as a means to pay for CSAM from the SnapGod Subjects to Sherif

Saad’s account at paywithmoon.com. One of the deposit addresses

was previously mentioned in paragraphs 24 and 28. Two additional


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addresses were originally identified during undercover

engagements with the SnapGod Subjects.

      33.   SA Muller communicated to me that in approximately

November to December of 2022, the FBI conducted a controlled

purchase of CSAM material from the Snapgod Subject(s). In an

undercover session, the SnapGod Subjects provided the below

deposit address as a means for OCE-1 to buy CSAM material:

             bc1qxdamh7yru5ctj6x2uvypx94v7snpsahmlsk6w6

      34.   SA Muller told me that OCE-1 sent Bitcoin to the above

address and received CSAM material from the Snapgod Subject(s)

to include Minor Victims 1, 2, 5, 6, 7, 8 and 9.

      35.   SA Muller communicated to me that the same address was

identified as being the source of $385.49 of the $445.49 total

that Saad received from known SnapGod Deposit addresses into his

Pay With Moon account. In total, 12 different transfers of funds

occurred with this specific deposit address from November 2022

to December 2022.

      36.   Additionally, SA Muller told me the OCE engaged with

the SnapGod subjects in a direct messaging session in January of

2023. On January 21, 2023 the Snapgod Subjects stated on their

Telegram channel that they were willing to sell “the entire

project” to include the Telegram channel, website, unreleased

content, control of the servers and all profits. The message

stated the asking price of $1,250 and to direct message the

Telegram handle “@cutekittiez”.

      37.   SA Muller futher informed me OCE engaged with

@cutekittiez on January 24, 2024. The discussion centered on the



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OCE purchasing the site and all ownership therein. When OCE

asked how the payment would work, @cutekittiez provided the

below bitcoin address:

            bc1qq7tl3g7nt5en3flf5tcya2f5ake7fp8pkpquxe

      38.   It was conveyed to me that two of the 14 transactions

outlined above that went to Saad’s Pay With Moon account were

from the above address provided by @cutekittiez as a means to

effectively purchase the SnapGod enterprise. Both of the

payments were on December 30, 2022.

      39.   It was communicated to me that the FBI analyzed the

transactions provided by Pay With Moon to determine where and

how funds were spent once Saad had converted his crypto currency

into virtual Visa cards. Pay With Moon provided merchant

information concerning where the virtual Visa cards associated

with Saad’s account were spent.

      40.   I was further informed that the FBI identified three

transactions linked to WalMart from Saad’s Pay With Moon

Account. The FBI issued a subpoena to WalMart for details of the

three transactions in question. On January 25, 2024 WalMart

provided transaction details and identified the name associated

with the orders as Sherif Saad, and the email associated with

the orders as ggxdhaha01@gmail.com.

      41.   SA Muller communicated to me that the FBI identified

four attempted transactions linked to CashApp (Block Inc) from

Saad’s Pay With Moon Account. The FBI issued a subpoena to Block

Inc for details of the four transactions in question. On January

18, 2024, Block Inc provided account details for the client



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associated with the Cash App account that attempted transactions

with Sherif Saad’s Pay With Moon account:

      Display Name: Ahmed Saad
      Email: ggxdhaha01@gmail.com
      Address: 1 Wegeford, Circle Ladera Ranch, CA, 92694

      42.   It was conveyed to me that in October 2022 local law

enforcement in Holly Springs, Georgia responded to a complaint

filed by a concerned parent. In summary, Holly Springs Police

Department Case # 122-6527 states that a SnapChat user “Peti_dn”

had been impersonating a juvenile male and soliciting nude

images from juvenile females in the Holly Springs area as well

as internationally.

      43.   I was informed that the SnapChat account identified by

the victims in Holly Springs, Georgia of “Peti_dn” was further

investigated by Holly Springs PD and the FBI. In the SnapChat

Search Warrant return from Holly Springs PD concerning the

account, it was identified that a previous username for peti_dn

was “ivanovpepi”. A subpoena was issued to SnapChat for the

username ivanovpepi which also identified the display name of

“Petar Ivanov”.

      44.   SA Muller conveyed to me that Sherif Saad’s Pay With

Moon account conducted 18 transactions with PayPal. The FBI

issued a Subpeona to PayPal for account information for any

accounts associated with Sherif Ahmed Saad or the email address

ggxdhaha01@gmail.com (which was listed on Saad’s Pay With Moon

account). PayPal responded on January 23, 2024, with information

from five separate PayPal accounts all sharing the email address

ggxdhaha01@gmail.com. One account which was created in July of


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2020 had the First and Last name of the account listed as “Petar

Ivanov”. Three other accounts had minimal client information but

included the same State and Zip code of the Subject Premise -

California, 92694.

      45.   Open-source research identified the below identifiers

associated with Sherif Ahmed Saad:

      Date of Birth: 4/29/1970
      Social Security number: XXX-XX-3018
      Address: 1 Wegeford Circle, Ladera Ranch, California, 92694

      46.   Surveillance was conducted on May 3, 2024, at 1

Wegeford Circle, Ladera Ranch, California, 92694. The following

observations were made during the surveillance:

            a.   A black Cadillac Escalade bearing CA license

plate 6572M1 was present on the curb adjacent to 1 Wegeford

Circle. Law enforcement database checks showed this vehicle

registered to Digital and Graphic Solutions, which is a business

licensed to SAAD with the location of 1 Wegeford Circle, Ladera

Ranch California.

            b.   A BMW sedan bearing CA license plate E052W1 was

present in the driveway of 1 Wegeford Circle. Law enforcement

database checks showed this vehicle registered to SAAD, with the

address listed as 1 Wegeford Circle, Ladera Ranch California.

            c.   At approximately 6:08 am, the garage door of 1

Wegeford Circle opened, and an individual fitting the

description of SAAD, wearing a white T-shirt, was standing in

the garage door frame. At approximately 6:09 am, the individual

went back inside, and the garage door closed.




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       47.   Based on the foregoing, there is probable cause that

Sherif Ahmed SAAD has received proceeds from the production,

advertisement, sale, and distribution of CSAM. Accordingly,

there is probable cause to believe that evidence, fruits, and

instrumentalities of the Subject Offenses will be found in a

search of the SUBJECT PREMISES and the SUBJECT PERSON.

 IV.    BACKGROUND ON CHILD EXPLOITATION OFFENSES, COMPUTERS, THE
                    INTERNET, AND DEFINITION OF TERMS

       48.   In this affidavit, the terms “minor,” “sexually

explicit conduct,” “visual depiction,” “producing,” and “child

pornography” are defined as set forth in 18 U.S.C. § 2256.           The

term “computer” is defined as set forth in 18 U.S.C.

§ 1030(e)(1).

       49.   Based upon my training and experience in the

investigation of child pornography, and information related to

me by other law enforcement officers involved in the

investigation of child pornography, I know the following

information about the use of computers with child pornography:

             a.   Computers and Child Pornography.       Computers and

computer technology have revolutionized the way in which child

pornography is produced, distributed, and utilized.          Child

pornographers can now produce both still and moving images

directly from a common video camera and can convert these images

into computer-readable formats.       The use of digital technology

has enabled child pornographers to electronically receive,

distribute, and possess large numbers of child exploitation

images and videos with other Internet users worldwide.




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            b.     File Storage.   Computer users can choose their

method of storing files: either on a computer’s hard drive, an

external hard drive, a memory card, a USB thumb drive, a smart

phone or other digital media device, etc. (i.e., “locally”) or

on virtual servers accessible from any digital device with an

Internet connection (i.e., “cloud storage”).         Computer users

frequently transfer files from one location to another, such as

from a phone to a computer or from cloud storage to an external

hard drive.      Computer users also often create “backup,” or

duplicate, copies of their files.       In this way, digital child

pornography is extremely mobile and such digital files are

easily reproduced and transported.        For example, with the click

of a button, images and videos containing child pornography can

be put onto external hard drives small enough to fit onto a

keychain.   Just as easily, these files can be copied onto

compact disks and/or stored on mobile digital devices, such as

smart phones and tablets.      Furthermore, even if the actual child

pornography files are stored on a “cloud,” files stored in this

manner can only be accessed via a digital device.          Therefore,

viewing this child pornography would require a computer,

smartphone, tablet, or some other digital device that allows the

user to access and view files on the Internet.

            c.     Internet.   The term “Internet” is defined as the

worldwide network of computers -- a noncommercial, self-

governing network devoted mostly to communication and research

with roughly 500 million users worldwide.         The Internet is not

an online service and has no real central hub.          It is a



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collection of tens of thousands of computer networks, online

services, and single user components.        In order to access the

Internet, an individual computer user must use an access

provider, such as a university, employer, or commercial Internet

Service Provider (“ISP”), which operates a host computer with

direct access to the Internet.       The “Internet” is a global

network of computers and other electronic devices that

communicate with each other. Due to the structure of the

Internet, connections between devices on the Internet often

cross state and international borders, even when the devices

communicating with each other are in the same state.

           d.    Internet Service Providers.       Individuals and

businesses obtain access to the Internet through ISPs.           ISPs

provide their customers with access to the Internet using

telephone or other telecommunications lines; provide Internet e-

mail accounts that allow users to communicate with other

Internet users by sending and receiving electronic messages

through the ISPs’ servers; remotely store electronic files on
their customer’s behalf; and may provide other services unique

to each particular ISP.      ISPs maintain records pertaining to the

individuals or businesses that have subscriber accounts with

them.   Those records often include identifying and billing

information, account access information in the form of log

files, e-mail transaction information, posting information,

account application information, and other information both in

computer data and written record format.




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           e.     An Internet Protocol address (“IP Address”) is a

unique numeric address used to connect to the Internet.           Every

computer or device accessing the Internet must be assigned an IP

address so that Internet traffic sent from and directed to that

computer or device may be directed properly from its source to

its destination. Most Internet Service Providers (“ISPs”)

control a range of IP addresses. IP addresses can be “dynamic,”

meaning that the ISP assigns a different unique number to a

computer or device every time it accesses the Internet. IP

addresses might also be “static,” if an ISP assigns a user’s

computer a particular IP address that is used each time the

computer accesses the Internet. ISPs typically maintain logs of

the subscribers to whom IP addresses are assigned on particular

dates and times

           f.     IP Address-IPv4 is a series of four numbers, each

in the range 0-255, separated by periods (e.g., 121.56.97.178).

In simple terms, one computer in a home may connect directly to

the Internet with an IP Address assigned by an ISP.          What is now
more typical is that one home may connect to the Internet using

multiple digital devices simultaneously, including laptops,

tablets, smart phones, smart televisions, and gaming systems, by

way of example.    Because the home subscriber typically only has

one Internet connection and is only assigned one IP Address at a

time by their ISP, multiple devices in a home are connected to

the Internet via a router or hub.       Internet activity from every

device attached to the router or hub is utilizing the same

external IP Address assigned by the ISP.         The router or hub



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“routes” Internet traffic so that it reaches the proper device.

Most ISPs control a range of IP Addresses.         The IP Address for a

user may be relatively static, meaning it is assigned to the

same subscriber for long periods of time, or dynamic, meaning

that the IP Address is only assigned for the duration of that

online session.    Most ISPs maintain records of which subscriber

was assigned which IP Address during an online session.

             g.   IP Address – IPv6.    Due to the limited number of

available IPv4 IP addresses, a new protocol was established

using the hexadecimal system to increase the number of unique IP

addresses.    An IPv6 consists of eight sets of combination of

four numbers 0-9 and/or letters A through F.         An example of an

IPv6 IP address is 2001:0db8:0000:0000:0000:ff00:0042:8329.

             h.   The following definitions apply here:

                  i.    “Child erotica,” as used herein, means

materials or items that are sexually arousing to persons having

a sexual interest in minors but that are not necessarily obscene

or do not necessarily depict minors engaging in sexually

explicit conduct.

                  ii.   “Child pornography,” as defined in 18 U.S.C.

§ 2256(8), is any visual depiction, including any photograph,

film, video, picture, or computer or computer-generated image or

picture, whether made or produced by electronic, mechanical or

other means, of sexually explicit conduct, where: (a) the

production of the visual depiction involved the use of a minor

engaged in sexually explicit conduct; (b) the visual depiction

is a digital image, computer image, or computer-generated image



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that is, or is indistinguishable from, that of a minor engaged

in sexually explicit conduct; or (c) the visual depiction has

been created, adapted, or modified to appear that an

identifiable minor is engaged in sexually explicit conduct.

                 iii. “Cloud-based storage,” as used herein, is a

form of digital data storage in which the digital data is stored

on remote servers hosted by a third party (as opposed to, for

example, on a user’s computer or other local storage device) and

is made available to users over a network, typically the

Internet. Users of such a service can share links and associated

passwords to their stored files with other traders of child

pornography in order to grant access to their collections. Such

services allow individuals to easily access these files through

a wide variety of electronic devices such as desktop and laptop

computers, mobile phones, and tablets, anywhere and at any time.

An individual with the password to a file stored on a cloud-

based service does not need to be a user of the service to

access the file. Access is typically free and readily available

to anyone who has an Internet connection.

                 iv.    “Computer,” as used herein, refers to “an

electronic, magnetic, optical, electrochemical, or other high

speed data processing device performing logical or storage

functions, and includes any data storage facility or

communications facility directly related to or operating in

conjunction with such device” and includes smartphones, other

mobile phones, and other mobile devices. See 18 U.S.C.

§ 1030(e)(1).



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                 v.    “Computer hardware,” as used herein,

consists of all equipment that can receive, capture, collect,

analyze, create, display, convert, store, conceal, or transmit

electronic, magnetic, or similar computer impulses or data.

Computer hardware includes any data-processing devices

(including central processing units, internal and peripheral

storage devices such as fixed disks, external hard drives,

“thumb,” “jump,” or “flash” drives, which are small devices that

are plugged into a port on the computer, and other memory

storage devices); peripheral input/output devices (including

keyboards, printers, video display monitors, and related

communications devices such as cables and connections); as well

as any devices, mechanisms, or parts that can be used to

restrict access to computer hardware (including physical keys

and locks).

                 vi.   “Computer software,” as used herein, is

digital information which can be interpreted by a computer and

any of its related components to direct the way they work.

Computer software is stored in electronic, magnetic, or other

digital form. It commonly includes programs to run operating

systems, applications, and utilities.

                 vii. “Computer passwords and data security

devices,” as used herein, consist of information or items

designed to restrict access to or hide computer software,

documentation, or data. Data security devices may consist of

hardware, software, or other programming code. A password (a

string of alpha-numeric characters) usually operates what might



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be termed a digital key to “unlock” particular data security

devices. Data security hardware may include encryption devices,

chips, and circuit boards. Data security software may include

programming code that creates “test” keys or “hot” keys, which

perform certain pre-set security functions when touched. Data

security software or code may also encrypt, compress, hide, or

“booby-trap” protected data to make it inaccessible or unusable,

as well as reverse the process to restore it.

                 viii.        “File Transfer Protocol” (“FTP”), as

used herein, is a standard network protocol used to transfer

computer files from one host to another over a computer network,

such as the Internet. FTP is built on client-server architecture

and uses separate control and data connections between the

client and the server.

                 ix.     “Encryption” is the process of converting

data into a code in order to prevent unauthorized access to the

data.

                 x.      “Internet Service Providers” (“ISPs”), as

used herein, are commercial organizations that are in business

to provide individuals and businesses access to the Internet.

ISPs provide a range of functions for their customers including

access to the Internet, web hosting, email, remote storage, and

co-location of computers and other communications equipment.

                 xi.     “Log files” are records automatically

produced by computer programs to document electronic events that

occur on computers. Computer programs can record a wide range of


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events including remote access, file transfers, logon/logoff

times, and system errors. Logs are often named based on the

types of information they contain. For example, web logs contain

specific information about when a website was accessed by remote

computers; access logs list specific information about when a

computer was accessed from a remote location; and file transfer

logs list detailed information concerning files that are

remotely transferred.

                 xii. “Minor,” as defined in 18 U.S.C. § 2256(1),

refers to any person under the age of eighteen years.

                 xiii.        “Mobile applications,” as used herein,

are small, specialized programs downloaded onto mobile devices

that enable users to perform a variety of functions, including

engaging in online chat, reading a book, or playing a game.

                 xiv. “Records,” “documents,” and “materials,” as

used herein, include all information recorded in any form,

visual or aural, and by any means, whether in handmade,

photographic, mechanical, electrical, electronic, or magnetic

form.

                 xv.     “Sexually explicit conduct,” as defined in

18 U.S.C. § 2256(2), means actual or simulated (a) sexual

intercourse, including genital-genital, oral-genital, anal-

genital, or oral-anal, whether between persons of the same or

opposite sex; (b) bestiality; (c) masturbation; (d) sadistic or

masochistic abuse; or (e) lascivious exhibition of the anus,

genitals, or pubic area of any person.




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                  xvi. A “storage medium” or “storage device” is

any physical object upon which computer data can be recorded.

Examples include hard disks, RAM, floppy disks, “thumb,” “jump,”

or “flash” drives, CD-ROMs, and other magnetic or optical media.

                  xvii.      “Visual depiction,” as defined in 18

U.S.C. § 2256(5), includes undeveloped film and videotape, data

stored on computer disc or other electronic means which is

capable of conversion into a visual image, and data which is

capable of conversion into a visual image that has been

transmitted by any means, whether or not stored in a permanent

format.

                  xviii.     A “Website” consists of textual pages

of information and associated graphic images. The textual

information is stored in a specific format known as Hyper-Text

Mark-up Language (HTML) and is transmitted from web servers to

various web clients via Hyper-Text Transport Protocol (HTTP).

V. TRAINING, EXPERIENCE AND DEFINITION OF TERMS-CRYPTOCURRENCY

      50.   Based on information related to me by other law
enforcement officers involved in the investigation of child

pornography and other investigations involving the use of

Cryptocurrency, I know the following information about

Cryptocurrency:

      51.   Cryptocurrency is a type of decentralized virtual

currency, peer-to peer, network-based medium of value or

exchange that may be used as a substitute for fiat currency to

buy goods or services or exchanged for fiat currency or other

cryptocurrencies.     Examples of cryptocurrency are Bitcoin,



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Litecoin, and Ether.     Cryptocurrency can exist digitally on the

Internet, in an electronic storage device, or in cloud-based

servers.    Although not usually stored in any physical form,

public and private keys (described below) used to transfer

cryptocurrency from one person or place to another can be

printed or written on a piece of paper or other tangible object.

Cryptocurrency can be exchanged directly person to person,

through a cryptocurrency exchange, or through other

intermediaries.     Generally, cryptocurrency is not issued by any

government, bank, or company; it is instead generated and

controlled through computer software operating on a

decentralized peer-to-peer network.         Most cryptocurrencies have

a “blockchain,” which is a distributed public ledger, run by the

decentralized network, containing an immutable and historical

record of every transaction.3       Cryptocurrency is not illegal in

the United States.

      52.   Bitcoin4 (“BTC”) is a type of cryptocurrency.         Payments

or transfers of value made with bitcoin are recorded in the
Bitcoin blockchain and thus are not maintained by any single

administrator or entity.      As mentioned above, individuals can

acquire bitcoin through exchanges (i.e., online companies which



      3Some cryptocurrencies operate on blockchains that are not
public and operate in such a way to obfuscate transactions,
making it difficult to trace or attribute transactions.
     4 Since Bitcoin is both a cryptocurrency and a protocol,
capitalization differs. Accepted practice is to use “Bitcoin”
(singular with an uppercase letter B) to label the protocol,
software, and community, and “bitcoin” (with a lowercase letter
b) to label units of the cryptocurrency. That practice is
adopted here.


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allow individuals to purchase or sell cryptocurrencies in

exchange for fiat currencies or other cryptocurrencies), bitcoin

ATMs, or directly from other people.        Individuals can also

acquire cryptocurrencies by “mining.”        An individual can “mine”

bitcoins by using his or her computing power to solve a

complicated algorithm and verify and record payments on the

blockchain.    Individuals are rewarded for this task by receiving

newly created units of a cryptocurrency. Individuals can send

and receive cryptocurrencies online using many types of

electronic devices, including laptop computers and smart phones.

Even though the public addresses of those engaging in

cryptocurrency transactions are recorded on a blockchain, the

identities of the individuals or entities behind the public

addresses are not recorded on these public ledgers.          If,

however, an individual or entity is linked to a public address,

it may be possible to determine what transactions were conducted

by that individual or entity.       Bitcoin transactions are

therefore sometimes described as “pseudonymous,” meaning that

they are partially anonymous. And while it is not completely

anonymous, bitcoin allows users to transfer funds more

anonymously than would be possible through traditional banking

and financial systems.

      53.    Cryptocurrency is stored in a virtual account called a

wallet.     Wallets are software programs that interface with

blockchains and generate and/or store public and private keys

used to send and receive cryptocurrency.         A public key or

address is akin to a bank account number, and a private key is



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akin to a PIN or password that allows a user the ability to

access and transfer value associated with the public address or

key.    To conduct transactions on a blockchain, an individual

must use the public address (or “public key”) and the private

address (or “private key”).        A public address is represented as

a case-sensitive string of letters and numbers, 26–25 characters

long.    Each public address is controlled and/or accessed through

the use of a unique corresponding private key—the cryptographic

equivalent of a password or PIN—needed to access the address.

Only the holder of an address’ private key can authorize any

transfers of cryptocurrency from that address to another

cryptocurrency address.

        54.   Although cryptocurrencies such as bitcoin have

legitimate uses, cryptocurrency is also used by individuals and

organizations for criminal purposes such as money laundering and

is a common means of payment for illegal goods and services on

hidden services websites operating on the Tor network.           By

maintaining multiple wallets, those who use cryptocurrency for

illicit purposes can attempt to thwart law enforcement’s efforts

to track purchases within the dark web marketplaces. As of

December 14, 2022, one bitcoin was worth approximately

$18,253.20, though the value of bitcoin is generally much more

volatile than that of fiat currencies.

        55.   Exchangers and users of cryptocurrencies store and

transact their cryptocurrency in a number of ways, as wallet

software can be housed in a variety of forms, including on a

tangible, external device (“hardware wallet”), downloaded on a



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PC or laptop (“desktop wallet”), with an Internet-based cloud

storage provider (“online wallet”), as a mobile application on a

smartphone or tablet (“mobile wallet”), printed public and

private keys (“paper wallet”), and as an online account

associated with a cryptocurrency exchange.         Because these

desktop, mobile, and online wallets are electronic in nature,

they are located on mobile devices (e.g., smart phones or

tablets) or at websites that users can access via a computer,

smart phone, or any device that can search the Internet.

Moreover, hardware wallets are located on some type of external

or removable media device, such as a USB thumb drive or other

commercially available device designed to store cryptocurrency

(e.g. Trezor, Keepkey, or Nano Ledger).        In addition, paper

wallets contain an address and a QR code5 with the public and

private key embedded in the code.       Paper wallet keys are not

stored digitally.     Wallets can also be backed up into, for

example, paper printouts, USB drives, or CDs, and accessed

through a “recovery seed” (random words strung together in a
phrase) or a complex password. Additional security safeguards

for cryptocurrency wallets can include two-factor authorization

(such as a password and a phrase).        I also know that individuals

possessing cryptocurrencies often have safeguards in place to

ensure that their cryptocurrencies become further secured in the

event that their assets become potentially vulnerable to seizure

and/or unauthorized transfer.


      5A QR code is a matrix barcode that is a machine-readable
optical label.


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      56.   Bitcoin “exchangers” and “exchanges” are individuals

or companies that exchange bitcoin for other currencies,

including U.S. dollars.      According to Department of Treasury,

Financial Crimes Enforcement Network (“FinCEN”) Guidance issued

on March 18, 2013, virtual currency administrators and

exchangers, including an individual exchanger operating as a

business, are considered money services businesses.6          Such

exchanges and exchangers are required to register with FinCEN

and have proper state licenses (if required under applicable

state law).    In conversations with fellow law enforcement

colleagues with training and experience in cryptocurrency

investigations, I have learned that registered money

transmitters are required by law to follow Bank Secrecy Act

anti-money laundering (“AML”) regulations, “Know Your Customer”

(“KYC”) protocols, and other verification procedures similar to

those employed by traditional financial institutions. For

example, FinCEN-registered cryptocurrency exchangers often

require customers who want to open or maintain accounts on their

exchange to provide their name, address, phone number, and the

full bank account and routing numbers that the customer links to

an exchange account.

      57.   Some companies offer cryptocurrency wallet services

which allow users to download a digital wallet application onto

their smart phone or other digital device.         A user typically

      6See “Application of FinCEN’s Regulations to Person
Administering, Exchanging, or Using Virtual Currencies,”
available at https://www.fincen.gov/resources/statutes-
regulations/guiadance/application-fincens-regulations-persons-
administering.


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accesses the wallet application by inputting a user-generated

PIN code or password.     Users can store, receive, and transfer

cryptocurrencies via the application; however, many of these

companies do not store or otherwise have access to their users’

funds or the private keys that are necessary to access users’

wallet applications.     Rather, the private keys are stored on the

device on which the wallet application is installed (or any

digital or physical backup private key that the user creates).

As a result, these companies generally cannot assist in seizing

or otherwise restraining their users’ cryptocurrency.

Nevertheless, law enforcement could seize cryptocurrency from

the user’s wallet directly, such as by accessing the user’s

smart phone, accessing the wallet application, and transferring

the cryptocurrency therein to a law enforcement-controlled

wallet.     Alternatively, where law enforcement has obtained the

recovery seed for a wallet (see above), law enforcement may be

able to use the recovery seed phrase to recover or reconstitute

the wallet on a different digital device and subsequently

transfer cryptocurrencies held within the new wallet to a law

enforcement-controlled wallet.

      58.    The term Bitcoin “deposit address” refers to the

specific alpha-numeric code that one individual would provide to

another individual in order to execute a bitcoin transaction. It

is essentially where the recipient wants the bitcoin to be sent

to in a traditional sense, where the recipient can control the

funds and spent it how they wish. The concept is very much akin

to a routing and account number for a traditional fiat currency



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wire transfer. The deposit address is unique, and can be re-

used.

VI.     TRAINING & EXPERIENCE ON INDIVIDUALS WITH A SEXUAL INTEREST
                                IN CHILDREN

        59.   Based on my training and experience, and the training

and experience of other law enforcement officers with whom I

have had discussions, I have learned that individuals who view

and possess multiple images of child pornography are often

individuals who have a sexual interest in children and in images

of children, and that there are certain characteristics common

to such individuals:

              a.   Individuals who have a sexual interest in

children or images of children may receive sexual gratification,

stimulation, and satisfaction from contact with children; or

from fantasies they may have viewing children engaged in sexual

activity or in sexually suggestive poses, such as in person, in

photographs, or in other visual media, or from literature

describing such activity.      These individuals often maintain

possession of these items for long periods of time and keep

their collections in numerous places – in digital devices in

their homes, in their cars, in their workplaces, or on their

persons.

              b.   Individuals who have a sexual interest in

children or images of children also may correspond with and/or

meet others to share information and materials (including

through digital distribution via the Internet); conceal such

correspondence as they do their sexually explicit material; and




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often maintain lists of names, addresses, and telephone numbers

of individuals with whom they have been in contact and who share

the same interests in child pornography.         These individuals

often maintain possession of these items for long periods of

time.

        60.   Digital child pornography on a digital device is easy

to maintain for long periods of time.        Modern digital devices

often have extremely large storage capacities.          Furthermore,

cheap and readily available storage devices, such as thumb

drives, external hard drives, and compact discs make it simple

for individuals with a sexual interest in children to download

child pornography from the Internet and save it – simply and

securely – so it can be accessed or viewed indefinitely.

        61.   Furthermore, even if a person deleted any images of

child pornography that may have been possessed or distributed,

there is still probable cause to believe that there will be

evidence of the illegal activities – that is, the possession,

receipt, and/or distribution of child pornography – at the

SUBJECT PREMISES or on the SUBJECT PERSON.         Based on my training

and experience, as well as my conversations with digital

forensic experts, I know that remnants of such files can be

recovered months or years after they have been deleted from a

computer device.     Evidence that child pornography files were

downloaded and viewed can also be recovered, even after the

files themselves have been deleted, using forensic

tools.    Because remnants of the possession, distribution, and

viewing of child pornography is recoverable after long periods



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of time, searching the SUBJECT PREMISES could lead to evidence

of child exploitation offenses.

            VII. TRAINING AND EXPERIENCE ON DIGITAL DEVICES

      62.    Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that the following electronic evidence, inter alia, is

often retrievable from digital devices:

             a.   Forensic methods may uncover electronic files or

remnants of such files months or even years after the files have

been downloaded, deleted, or viewed via the Internet.           Normally,

when a person deletes a file on a computer, the data contained

in the file does not disappear; rather, the data remain on the

hard drive until overwritten by new data, which may only occur

after a long period of time.       Similarly, files viewed on the

Internet are often automatically downloaded into a temporary

directory or cache that are only overwritten as they are

replaced with more recently downloaded or viewed content and may

also be recoverable months or years later.

             b.   Digital devices often contain electronic evidence

related to a crime, the device’s user, or the existence of

evidence in other locations, such as, how the device has been

used, what it has been used for, who has used it, and who has

been responsible for creating or maintaining records, documents,

programs, applications, and materials on the device.          That

evidence is often stored in logs and other artifacts that are

not kept in places where the user stores files, and in places

where the user may be unaware of them.        For example, recoverable



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data can include evidence of deleted or edited files; recently

used tasks and processes; online nicknames and passwords in the

form of configuration data stored by browser, e-mail, and chat

programs; attachment of other devices; times the device was in

use; and file creation dates and sequence.

            c.    The absence of data on a digital device may be

evidence of how the device was used, what it was used for, and

who used it.     For example, showing the absence of certain

software on a device may be necessary to rebut a claim that the

device was being controlled remotely by such software.

            d.    Digital device users can also attempt to conceal

data by using encryption, steganography, or by using misleading

filenames and extensions.      Digital devices may also contain

“booby traps” that destroy or alter data if certain procedures

are not scrupulously followed.       Law enforcement continuously

develops and acquires new methods of decryption, even for

devices or data that cannot currently be decrypted.

      63.   Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that it is not always possible to search devices for data

during a search of the premises for a number of reasons,

including the following:

            a.    Digital data are particularly vulnerable to

inadvertent or intentional modification or destruction.           Thus,

often a controlled environment with specially trained personnel

may be necessary to maintain the integrity of and to conduct a

complete and accurate analysis of data on digital devices, which



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may take substantial time, particularly as to the categories of

electronic evidence referenced above.        Also, there are now so

many types of digital devices and programs that it is difficult

to bring to a search site all of the specialized manuals,

equipment, and personnel that may be required.

              b.   Digital devices capable of storing multiple

gigabytes are now commonplace.       As an example of the amount of

data this equates to, one gigabyte can store close to 19,000

average file size (300kb) Word documents, or 614 photos with an

average size of 1.5MB.

        64.   It should be noted that because SAAD’s crimes involved

the use of virtual currency and encryption, the items to be

seized could be stored almost anywhere within a residence, in

both physical and electronic formats.        For example, Attachment B

seeks bitcoin addresses, passwords, and recovery seeds.           These

pieces of data comprise long and complex character strings, and

in my training and experience I know that many virtual currency

users write down or otherwise record and store such items

because they are too long to commit to memory.          As such, these

keys, passwords, and addresses may be documented in writing and

secreted anywhere within a residence.        For all of the foregoing

reasons, probable cause exists to believe that such records,

data, and documents will be found within the SUBJECT PREMISES,

including in computers or on other devices that store electronic

data.

        65.   The search warrant requests authorization to use the

biometric unlock features of a device, based on the following,



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which I know from my training, experience, and review of

publicly available materials:

           a.    Users may enable a biometric unlock function on

some digital devices.     To use this function, a user generally

displays a physical feature, such as a fingerprint, face, or

eye, and the device will automatically unlock if that physical

feature matches one the user has stored on the device.           To

unlock a device enabled with a fingerprint unlock function, a

user places one or more of the user’s fingers on a device’s

fingerprint scanner for approximately one second.          To unlock a

device enabled with a facial, retina, or iris recognition

function, the user holds the device in front of the user’s face

with the user’s eyes open for approximately one second.

           b.    In some circumstances, a biometric unlock

function will not unlock a device even if enabled, such as when

a device has been restarted or inactive, has not been unlocked

for a certain period of time (often 48 hours or less), or after

a certain number of unsuccessful unlock attempts.          Thus, the

opportunity to use a biometric unlock function even on an

enabled device may exist for only a short time.          I do not know

the passcodes of the devices likely to be found in the search.

           c.    Thus, the warrant I am applying for would permit

law enforcement personnel to, with respect to any device that

appears to have a biometric sensor and falls within the scope of

the warrant: (1) depress the SUBJECT PERSON’s thumb and/or

fingers on the device(s); and (2) hold the device(s) in front of




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the SUBJECT PERSON’s face with his eyes open to activate the

facial-, iris-, and/or retina-recognition feature.

      66.   Other than what has been described herein, to my

knowledge, the United States has not attempted to obtain this

data by other means.

                          VIII.      CONCLUSION

      67.   For all the reasons described above, there is probable

cause to believe to believe that the items listed in Attachment

B, which constitute evidence, fruits, and instrumentalities of

violations 18 U.S.C. §§ 2252A(a)(2) (receipt and distribution of

child pornography), 2252A(a)(5)(B) (possession of child

pornography) and 2251(d) (advertisement of child pornography),

will be found in a search of SUBJECT PREMISES and the SUBJECT

PERSON, as described in Attachments A-1 and A-2.


                                                /s/ Nina Vicencia
                                         Nina Vicencia, Special Agent
                                         Federal Bureau of
                                         Investigation



Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this __ day of May
2024.


HONORABLE AUTUMN D. SPAETH
UNITED STATES MAGISTRATE JUDGE




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               ATTACHMENT A-1 PREMISES TO BE SEARCHED

      The premises to be searched is the property located at 1

Wegeford Circle, Ladera Ranch, California, 92694, and includes

any and all attached and/or detached garages, annexes,

outbuildings, sheds, storage locations, and locked and/or

unlocked areas (“SUBJECT PREMISES”).        The SUBJECT PREMISES

appears to be a single-family home of approximately 3,000 square

feet in a residential area. This warrant authorizes the forensic

examination of this property and any electronic devices found

thereon for the purpose of identifying the electronically stored

information described in Attachment B.
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                               ATTACHMENT B

ITEMS TO BE SEIZED

      1.     The items to be seized are evidence, contraband,

fruits, or instrumentalities of violations of 18 U.S.C. §§ 2251

(production of child pornography), 2252A(a)(2) (receipt and

distribution of child pornography), 2252A(a)(5)(B) (possession

of child pornography) and 2251(d) (advertisement of child

pornography), namely:

             a.   Child pornography, as defined in 18 U.S.C.

§ 2256(8).

             b.   Any records, documents, programs, applications,

or materials, including electronic mail and electronic messages,

that refer to child pornography, as defined in 18 U.S.C.

§ 2256(8), including but not limited to documents that refer to

the possession, receipt, distribution, transmission,

reproduction, viewing, sharing, purchase, or downloading,

production, shipment, order, requesting, trade, or transaction

of any kind, of child pornography.

             c.   Any records, documents, programs, applications,

or materials, including electronic mail and electronic messages,

including but not limited to financial records, tending to

identify persons involved in the production, possession,

receipt, distribution, solicitation, or transportation of child

pornography as defined in 18 U.S.C. § 2256.

             d.   Any digital currency including, but not limited

to, Bitcoin stored on electronic wallets or other forms of


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wallets or other means, cryptocurrency private keys and recovery

seed, and records relating to income derived from the

advertisement, distribution, production, sale and or purchase of

child pornography.

                       i.    With respect to any cryptocurrencies to

      be seized, such as Bitcoin, cryptocurrency private keys and

      recovery seeds (as described in paragraph 1(d)), the

      cryptocurrency (or digital currency) private keys, and

      recovery seeds to be seized is evidence, contraband,

      involved in or traceable to violations of the Subject

      Offenses. Seizure of any cryptocurrency/digital currency

      private keys and recovery seeds shall also be construed to

      include seizure of any cryptocurrency related to any such

      seized private keys and/or recovery seeds, and such seizure

      shall allow transfer of any such related cryptocurrency to

      one or more government-controlled accounts, or “wallets.”

           e.    Any records, documents, programs, applications,

or materials, including electronic mail and electronic messages,

that refer or relate to any production, receipt, shipment,

order, request, trade, purchase, or transaction of any kind

involving the transmission through interstate commerce by any

means, including by computer, of any visual depiction of a minor

engaged in sexually explicit conduct, as defined in 18 U.S.C.

§ 2256.




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           f.    Any records, documents, programs, applications,

or materials, including electronic mail and electronic messages,

identifying persons transmitting in interstate commerce,

including by computer, any visual depiction of a minor engaged

in sexually explicit conduct, as defined in 18 U.S.C. § 2256.

           g.    Any records, documents, programs, applications,

or materials, including electronic mail and electronic messages,

that identify any minor visually depicted while engaging in

sexually explicit conduct, as defined in 18 U.S.C. § 2256.

           h.    Any and all records, documents, programs,

applications, or materials or items which are sexually arousing

to individuals who are interested in minors, but which are not

in and of themselves obscene or which do not necessarily depict

minors involved in sexually explicit conduct.         Such material is

commonly known as “child erotica” and includes written materials

dealing with child development, sex education, child

pornography, sexual abuse of children, incest, child

prostitution, missing children, investigative techniques of

child exploitation, sexual disorders, pedophilia, nudist

publications, diaries, and fantasy writings.

           i.    Any records, documents, programs, applications,

or materials identifying possible minor victims depicted in

child pornography and/or minor victims of sexual abuse.

           j.    Any records, documents, programs, applications,

or materials, including electronic mail and electronic messages,

which pertain to Snapchat, MEGA, Telegram, Bitcoin, or Dropbox.




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             k.   Any records, documents, programs, applications,

or materials, including electronic mail and electronic messages,

which pertain to accounts with any Internet Service Provider.

             l.   Any records, documents, programs, applications,

or materials, including electronic mail and electronic messages,

which pertain to the SnapGod Subjects to include the Snapchat

account or usernames julia_zeegan, Max, peti_dn, Petar Ivanov,

or the Telegram usernames cutekittiez, Guardin, or Max.

             m.   Any records, documents, programs, applications,

materials, and files relating to IP addresses 35.143.86.134 and

35.143.87.141.

             n.   Any records, documents, programs, applications,

materials, and files relating to https://snapgod.co/,

https://snapgod.pics/, or http://snapgod.tv or otherwise

referencing the term “Snapgod” and variations thereof.

             o.   Records, documents, programs, applications,

materials, and files relating to the deletion, uploading, and/or

acquisition of victim files to include photographs, videos, e-

mails, chat logs, or other files.

             p.   Any digital device used to facilitate the above-

listed violations and forensic copies thereof.

      2.     Any digital device which is itself or which contains

evidence, contraband, fruits, or instrumentalities of the

Subject Offenses, and forensic copies thereof.

      3.     With respect to any digital device containing evidence

falling within the scope of the foregoing categories of items to

be seized:



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           a.    evidence of who used, owned, or controlled the

device at the time the things described in this warrant were

created, edited, or deleted;

           b.    evidence of the presence or absence of software

that would allow others to control the device, such as viruses,

Trojan horses, and other forms of malicious software, as well as

evidence of the presence or absence of security software

designed to detect malicious software;

           c.    evidence of the attachment of other devices;

           d.    evidence of counter-forensic programs (and

associated data) that are designed to eliminate data from the

device;

           e.    evidence of the times the device was used;

           f.    applications, programs, software, documentation,

manuals, passwords, keys, encryption keys, biometric keys and

other access devices that may be necessary to access the device

or data stored on the device, to run software contained on the

device, or to conduct a forensic examination of the device;

           g.    records of or information about Internet Protocol

addresses used by the device.

      4.   As used herein, the terms “records,” “information,”

“documents,” “programs,” “applications,” and “materials” include

records, information, documents, programs, applications, and

materials created, modified, or stored in any form, including in

digital form on any digital device and any forensic copies

thereof.




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      5.   As used herein, the term “digital device” includes any

electronic system or device capable of storing or processing

data in digital form, including central processing units;

desktop, laptop, notebook, and tablet computers; personal

digital assistants; wireless communication devices, such as

telephone paging devices, beepers, mobile telephones, and smart

phones; digital cameras; gaming consoles (including Sony

PlayStations and Microsoft Xboxes); peripheral input/output

devices, such as keyboards, printers, scanners, plotters,

monitors, and drives intended for removable media; related

communications devices, such as modems, routers, cables, and

connections; storage media, such as hard disk drives, floppy

disks, memory cards, optical disks, and magnetic tapes used to

store digital data (excluding analog tapes such as VHS); and

security devices.


SEARCH PROCEDURE FOR DIGITAL DEVICES

      6.   In searching digital devices or forensic copies

thereof, law enforcement personnel executing this search warrant

will employ the following procedure:

           a.    Law enforcement personnel or other individuals

assisting law enforcement personnel (the “search team”) will, in

their discretion, either search the digital device(s) on-site or

seize and transport the device(s) and/or forensic image(s)

thereof to an appropriate law enforcement laboratory or similar

facility to be searched at that location.         The search team shall

complete the search as soon as is practicable but not to exceed



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120 days from the date of execution of the warrant.          The

government will not search the digital device(s) and/or forensic

image(s) thereof beyond this 120-day period without obtaining an

extension of time order from the Court.

           b.    The search team will conduct the search only by

using search protocols specifically chosen to identify only the

specific items to be seized under this warrant.

                 i.    The search team may subject all of the data

contained in each digital device capable of containing any of

the items to be seized to the search protocols to determine

whether the device and any data thereon falls within the scope

of items to be seized.      The search team may also search for and

attempt to recover deleted, “hidden,” or encrypted data to

determine, pursuant to the search protocols, whether the data

falls within the scope of items to be seized.

                 ii.   The search team may use tools to exclude

normal operating system files and standard third-party software

that do not need to be searched.

                 iii. The search team may use forensic examination

and searching tools, such as “EnCase,” “Griffeye,” and “FTK”

(Forensic Tool Kit), which tools may use hashing and other

sophisticated techniques, including to search for known images

of child pornography.

           c.    The search team will not seize contraband or

evidence relating to other crimes outside the scope of the items

to be seized without first obtaining a further warrant to search

for and seize such contraband or evidence.



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           d.    If the search determines that a digital device

does not contain any data falling within the scope of items to

be seized, the government will, as soon as is practicable,

return the device and delete or destroy all forensic copies

thereof.

           e.    If the search determines that a digital device

does contain data falling within the scope of items to be

seized, the government may make and retain copies of such data,

and may access such data at any time.

           f.    If the search determines that a digital device is

(1) itself an item to be seized and/or (2) contains data falling

within the scope of other items to be seized, the government may

retain the digital device and any forensic copies of the digital

device, but may not access data falling outside the scope of the

other items to be seized (after the time for searching the

device has expired) absent further court order.

           g.    The government may also retain a digital device

if the government, prior to the end of the search period,

obtains an order from the Court authorizing retention of the

device (or while an application for such an order is pending),

including in circumstances where the government has not been

able to fully search a device because the device or files

contained therein is/are encrypted.

           h.    After the completion of the search of the digital

devices, the government shall not access digital data falling

outside the scope of the items to be seized absent further order

of the Court.



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      7.    The review of the electronic data obtained pursuant to

this warrant may be conducted by any government personnel

assisting in the investigation, who may include, in addition to

law enforcement officers and agents, attorneys for the

government, attorney support staff, and technical experts.

Pursuant to this warrant, the investigating agency may deliver a

complete copy of the seized or copied electronic data to the

custody and control of attorneys for the government and their

support staff for their independent review.

      8.    During the execution of this search warrant, law

enforcement is permitted to: (1) depress Sherif Ahmed SAAD’s

thumb and/or fingers onto the fingerprint sensor of the device

(only when the device has such a sensor), and direct which

specific finger(s) and/or thumb(s) shall be depressed; and (2)

hold the device in front of SAAD’s face with his or her eyes

open to activate the facial-, iris-, or retina-recognition

feature, in order to gain access to the contents of any such

device.    In depressing a person’s thumb or finger onto a device

and in holding a device in front of a person’s face, law

enforcement may not use excessive force, as defined in Graham v.

Connor, 490 U.S. 386 (1989); specifically, law enforcement may

use no more than objectively reasonable force in light of the

facts and circumstances confronting them.

      9.    The special procedures relating to digital devices

found in this warrant govern only the search of digital devices

pursuant to the authority conferred by this warrant and do not




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apply to any search of digital devices pursuant to any other

court order.




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